Case 3:17-cv-00939-WHA Document 2693-8 Filed 01/28/19 Page 1 of 4




        EXHIBIT 17
    FILED UNDER SEAL
     Case 3:17-cv-00939-WHA Document 2693-8 Filed 01/28/19 Page 2 of 4


1                  UNITED STATES DISTRICT COURT
2                 NORTHERN DISTRICT OF CALIFORNIA
3                     SAN FRANCISCO DIVISION
4
        Case No. 3:17-cv-00939-WHA
5       _______________________________
                                       )
6       WAYMO LLC,                     )
                                       )
7                  Plaintiff,          )
                                       )
8             v.                       )
                                       )
9       UBER TECHNOLOGIES, INC.;       )
        OTTOMOTTO LLC;                 )
10      OTTO TRUCKING,                 )
                                       )
11                 Defendants.         )
        _______________________________)
12
13
14                   VIDEOTAPED DEPOSITION OF
15                     JAMES E. MALACKOWSKI
16                 DATE TAKEN:  OCTOBER 3, 2017
17
18
19
20
21      REPORTED BY:
22      PAUL J. FREDERICKSON, CCR, CSR
23      JOB NO. 2720761
24
25      Pages 1 - 198

                                                                Page 1

                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:17-cv-00939-WHA Document 2693-8 Filed 01/28/19 Page 3 of 4


1      the thrust, meaning that, yes, if these terms                12:01:02

2      are executed, then Otto Trucking will be the                 12:01:07

3      exclusive field of use licensee for Uber's                   12:01:13

4      AV-related technology.                                       12:01:17

5               Q.     In those circumstances, Uber won't           12:01:17

6      be allowed to use its own AV technology that                 12:01:20

7      it's developed in the trucking field; correct?               12:01:24

8                      MR. BRUN:     Objection, form.               12:01:27

9               A.     Well, Uber will be Otto Trucking             12:01:29

10     in the sense that they will be a 50 percent                  12:01:31

11     owner, so they will get the benefit through                  12:01:33

12     that participation.                                          12:01:36

13              Q.     The license to Otto Trucking                 12:01:37

14     happens if Uber doesn't acquire Otto Trucking,               12:01:39

15     right?                                                       12:01:43

16                     MR. BRUN:     Same objection.                12:01:44

17              A.     Yes, true.     Fair correction.              12:01:47

18              Q.     Just so that we have a clear                 12:01:53

19     record, in the event that Uber does not acquire              12:01:55

20     Otto Trucking, Otto Trucking will have an                    12:01:58

21     exclusive field of use license regarding Uber's              12:02:00

22     autonomous vehicle technology in the trucking                12:02:03

23     field; correct?                                              12:02:06

24                     MR. BRUN:     Objection, form.               12:02:07

25              A.     Yes, generally speaking, that's              12:02:13

                                                               Page 104

                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:17-cv-00939-WHA Document 2693-8 Filed 01/28/19 Page 4 of 4


1      true.                                                        12:02:14

2              Q.      In those circumstances, Uber will            12:02:16

3      not be able to use the autonomous vehicle                    12:02:18

4      technology it developed in the trucking field;               12:02:21

5      correct?                                                     12:02:24

6                      MR. BRUN:     Same objection.                12:02:25

7              A.      That's generally my understanding            12:02:26

8      of the term sheet, correct.                                  12:02:28

9              Q.      Do you know the current status of            12:02:30

10     potential acquisition discussions between Uber               12:02:32

11     and Otto Trucking?                                           12:02:35

12             A.      No, sir, I don't believe that an             12:02:38

13     acquisition has taken place.           I understand          12:02:41

14     we're in a window where that's possible.                     12:02:43

15             Q.      Do you know whether                          12:02:45

16     Mr. Levandowski's firing from Uber has affected              12:02:46

17     the potential acquisition of Otto Trucking by                12:02:49

18     Uber?                                                        12:02:52

19             A.      I do not.                                    12:02:53

20             Q.      Do you know how this lawsuit has             12:02:54

21     affected Uber's potential acquisition of Otto                12:02:56

22     Trucking?                                                    12:03:00

23             A.      I do not.                                    12:03:00

24             Q.      Did you review Waymo's                       12:03:07

25     interrogatory responses as part of your work in              12:03:08

                                                               Page 105

                              Veritext Legal Solutions
                                   866 299-5127
